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                                                         FILED21 MAR '1:3 14:10l.JSDC·ORP




             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF OREGON



                                                 3 '13 - CV - 48 2 AC,
MILAUDI, KARBOAU                           District Court Case No- - - -
           Plaintiff,                      Green Card No: AXXXXXXXX

vs.

NATHALIE R. ASHER: FIELD OFFICE
DIRECTOR; SYLVIELOBATOASSISTANT
FIELD OFFICEDIRECTOR (DETENTION);          COMPLAINT
AFOD GODFREY:ASSISTANT FIELD
OFFICE DIRECTOR (DETENTION);NEIL
CLARK:(Former) ICE FIELDOFFICE;
COLETTE S. PETER: DIRECTOROF
DEPARTMENT OF CORRECTION(DOC)
ADMINISTRATIONDIRECTOR AND
STATE OF OREGON.
Defendants.                                Jury Trial Demanded




                        UNLAWFUL DETENTION
Plaintiff          MILAUDI KARBOAU
                   7585 SW Hunzker Street. Apt 50
                   Tigard, Oregon 97223
                   Email: milaudikarboau@yahoo.com
                   (503) 421 0740

Defendant No.1      FIELD OFFICE DIRECTOR: NATHALIE R. ASHER; ASSISTANT
                    FIELD OFFICE 12500 Tukwila International Blvd. Seattle, WA,
                                                                                            1
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                    98168

Defendant No.2      ASSISTANT FIELD OFFICE DIRECTOR (DETENTION): SYLVIE
                    LOBATO; 1623 East J Street, Tacoma, WA, 98421

Defendant No. 3     ASSISTANT FIELD OFFICE FIELD OFFICE (DETENTION): AFOD
                    GODFREY, P.O. Box 4858 Portland, Oregon 97208

Defendant No.4      COLETTE S. PETER OREGON DEPARTMENT OF
                    CORRECTION (ODOC) DIRECTOR
                    2575 Center St. NE Salem, OR 97301-4667.

[x]    Federal Question


Preliminary Statement

      This civil action by the Plaintiff Milaudi Karboau "prose" against the Department

of Correction (DOC) Administration director and State of Oregon Colette S Peter under

42 U.S.C. § 1983; as well against the United States (US) pursuant to the Federal Tort

Claims Act (FTCA), 28 U.S.C. 2671-2680, et. seq., accordance with the law of the place

where the act and omission occurred under 28 U.S.C. § 1346(b)(1 ).§ 2680(h)in

violations of his constitutional rights, and for damages resulting from arbitrary negligent

by the agents of the Department of Homeland Security (DHS), Immigration & Custom

Enforcement (ICE) and its employees under Bivens v. Six Unknown Agents, 403 U.S.

388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971 ). As noted above, the defendants are all

present and former employees, along with the United States defendants of whom are

employees of the Immigration and Customs Enforcement ("ICE"), a branch of the United

States Department of Homeland Security. Plaintiff allege violation of his constitutional

rights pursuant to 28 U.S.C § 1983 and Bivens v. Six Unknown Fed. Narcotics

Agents, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 619 (1971 ). Plaintiff's claims are for

violations of his Fourth, Fifth, and Fourteenth Amendments, equal protection, the
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Oregon and Washington Constitutions, and common laws by Defendants. Plaintiff seeks

from all Defendants compensatory and punitive damages and injunctive and declaratory

relief, from the defendants (ODOC), and the US/DHS/ICE for alleged unconstitutional,

unlawful, and tortious actions against Plaintiff. Defendants are all current and former

employees of the (ODOC), and the (US/DHS/ICE). both of whom are employees of the

Immigration & Customs Enforcement ("ICE"), which is a branch of the United States

Department of Homeland Security, for violations of his constitutional rights pursuant to

42 U.S.C. 1983 and Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388, 91 S.

Ct. 1999, 29 L. Ed. 2d 619 (1971 ), alleging claims for violations of the Fourth, Fifth, and

Fourteenth Amendments, to redress the deprivation, under color, of federal law rights

secured by the Constitutions of the United States.

I. JURISDICTION & VENUE

1.     Pursuant to 42 U.S.C. §§1331 (a) and 1343 3) this Court have jurisdiction over

the Plaintiff's claims of violation of federal constitutional rights in this case because (1)

Plaintiff was an inmate at Department of Correction in the state of Oregon when the

violation occurred and (2) the (ICE) field Office of Portland, Oregon, launched the

detainer was with the (ODOC) against the Plaintiff on May 13, 2003, while incarcerated

in the state of Oregon.

2.     The Court has supplemental jurisdiction over the Plaintiff's states law tort claims

under 28 U.S.C. § 1367.Piaintiff seeks money damage and declaratory relief pursuant

to 28 U.S.C. § 2201 and 2202. 28 U.S.C. § 2283 & 2284 and Rule 65 of the Federal

Rules of Civil Procedure authorize plaintiff's claims for injunction relief.

3.     This United States District Court of District of Oregon is an appropriate venue

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under 28 U.S.C. § 1391 (b)(2) because it is where the events giving rise to this claim

occurred.

       Plaintiff has exhausted his remedies and tried multiple times to file this lawsuit

while incarcerated but the defendants made it impossible for the Plaintiff to do so by

denying the Plaintiff meaningful access to law library Bounds v. Smith, 430 U.S. 817

(1977),and frequently transferred the Plaintiff from one state prison to another with

intend to hinder and thwart the Plaintiff from filing lawsuit. Thus the Plaintiff statute is

tolled under O.R.S. 12.160, which provides:

"If, at the time the cause of action accrues, any person entitled to bring an action

mentioned in ORS [12.11 0] * * * is:

"(1) Within the age of 21 years,

"(2) Insane, or

"(3) Imprisoned on a criminal charge, or in execution under the sentence of a court for a

term less than his natural life, the time of such disability shall not be a part of the time

limited for the commencement of the action; but the period within which the action shall

be brought shall not be extended more than five years by any such disability, nor shall it

be extended in any case longer than one year after such disability ceases. "Donald

Gene BOAG, v. CHIEF OF POLICE, CITY OF PORTLAND, and City of Portland,

Oregon, 669 F.2d 587 (1982).Harris v. Craig, 299 Or 12, 697 P2d 189 (1985).Pursuant

to ORS 12.010 to 12.050 and 12.070 to 12.260, Plaintiff filed this action within the ORS

12.160 statute of limitation after his release from the defendants 'custody.

       The ORS 12.160 statues provide: "If, at the time the cause of action accrues,




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II. PLAINTIFF'S STATEMENT OF CLAIM
4.    On December 19, 2002, Plaintiff was convicted for receiving stolen property and

was sentenced to 104 months in state prison, Oregon Department of Correction

(ODOC) with alternative early release to six (6) months boot-camp program after

serving forty eight (48) months of the total sentences of 104. Upon his conviction and

the lengthy sentencing Plaintiff timely appealed his conviction to the Oregon Court of

appeals. While his conviction pending the direct appeal, on May 13, 2003, the

immigration and Custom Enforcement (ICE) launched detainer with (ODOC) against the

Plaintiff. During his first two years' incarceration at Oregon Department of Correction

(ODOC) Petitioner, had no idea that defendant placed a detainer with (ODOC) against

him. On 2004, during his monthly consultation and review with the (ODOC) counselor,

Plaintiff inquired about his eligibility for the early release to six months boot-camp

program and Plaintiff was told that he was ineligible for the boot-camp program release

because there was a pending detainer by ICE. Plaintiff contacted the defendant's(ICE)

field office in Portland Oregon multiple times by mail requested that the detainer against

him should remove because his conviction for the alleged attempting to receive stolen

property O.R.S. §164.055 offense was pending the direct appeal and the conviction was

not final for the immigration purposes.8 U.S.C. §1101(a)(48)(A).[A]Iien's conviction

became final for immigration purposes when he failed to appeal his conviction, (b)

allowed appeal period to lapse, (c) waived his right to direct appeal or, (d) exhausted

direct appeal of his conviction. Wilson v. INS, 43 F.3d 211, 216-17 (51h Cir.), cert.

denied, 516 U.S. 811 (1985); Marino v. INS 537 F.2d 686; (2nd, Circuit 1976). See also

Martinez-Montoya v. INS, 904 F.2d 1018, 1025 (5th Cir. 1990.Marino v. INS 537 F.2d

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686; (2nd, Circuit 1976); Matter of Ozkok 191.& N. Dec. 546 (BIA) 1988); United States

v. Morales, 854 F.2d 65 (5th, Circuit 1988; Smith v. Gonzales 468 F.3d 272 (5th, Circuit

2006); Morales-Aivarado v. INS, 655 F.2d 172 at 175See Pino v. Landon, 349 U.S. 901,

99 L. Ed. 1239, 75 S. Ct. 576 (1955) (per curium), rev'g, Pino v. Nicolls, 215 F.2d

237 (1st Cir. 1954). [T]he final conviction language applies to a conviction which is no

longer subject to examination on direct appeal, "including an application for certiorari to

the United States Supreme Court. either because of disposition on appeal and

conclusion of the appellate process or because of the passage, without action. of the

time for seeking appellate review". Will v. INS, 447 F.2d 529, 532-33 (7th Cir. 1971);

Aguilera-Enriquez v. INS, 516 F.2d 565, 570 (6th Cir. 1975), cert. denied, 423 U.S.

1050, 96 S. Ct. 776, 46 L. Ed. 2d 638 (1976); 1 C. Gordon and H. Rosenfield, supra,

4.12d, at 4-89 (Supp. 1975). Consequently, an alien not deemed to have been

"convicted" of a crime under the Act until his conviction has attained a substantial

degree of finality. See Pino v. Landon, 349 U.S. 901, 99 L. Ed. 1239, 75 S. Ct.

576 (1955) (per curium), rev'g, Pino v. Nicolls, 215 F.2d 237 (1st Cir. 1954). Such

finality does not occur unless and until direct appellate review of the conviction (as

contrasted with collateral attack) has been exhausted or waived. Will v. INS, 447 F.2d

529, 532-33 (7th Cir. 1971 ); Aguilera-Enriquez v. INS, 516 F.2d 565, 570 (6th Cir.

1975), cert. denied, 423 U.S. 1050, 96 S. Ct. 776, 46 L. Ed. 2d 638 (1976); 1 C. Gordon

and H. Rosenfield, supra, 4.12d, at 4-89 (Supp. 1975). However, the ICE defendant in

Portland, Oregon office ignored the Plaintiff's letters requesting the removal of the

detainer.

       When the forty eight (48) months sentence comes to end December 22,


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2005,Piaintiff requested from the Oregon department of Correction (a) to release (him)

Plaintiff to boot-camp or (b) be released to (ICE) so he could deal with his

consequences there. Plaintiff request was denied. Plaintiff also contacted (ICE) and

requested that he should be picked up by (ICE) so he could deal with the unlawful

detainer consequences or the removal of the detainer with (ODOC) so he could be

released to boot-camp. Defendant (ICE) requested the Plaintiff's request was ignored

and Plaintiff was held in the (ODOC) until he served his full sentence and released four

4 years later after December 22, 2005, date of his boot-camp scheduled time to be

released to boot-camp.

5.    On October 1, 2009, Plaintiff was released from the (ODOC) to the hand of

Immigration & Custom Enforcement (ICE) where he was taken to Tacoma Washington

Northwest Detention Center (NWDC) and was detained there for another nine hundred

and thirty eight 938, days and released on April 26, 2012. Upon his arrival to (NWDC)

Plaintiff submitted multiple requests to the then was ICE FIELDOFFICE DIRECTOR

NEIL CLARK, requesting his immediate release because his detention was illegal.

Plaintiff requests were ignored. After defendant the ICE FIELD OFFICE DIRECTOR

NEIL CLARK left his office for retirement, Plaintiff submitted additional multiple requests

to the new FIELD OFFICE DIRECTOR: NATHALIE R. ASHER; and the ASSISTANT

FIELD OFFICE DIRECTOR (DETENTION): SYLVIE LOBATO requesting that he be

immediately released from detention explained that his detention was illegal and the

Oregon criminal conviction was in the "direct" appeal and it was not a final conviction to

the immigration purposes and that his conviction should not be considered final

conviction for the immigration purposes." Pino v. Landon, 349 U.S. 901, 99 L. Ed. 1239,


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75 S. Ct. 576 (1955), rev'gPino v. Nicolls, 215 F.2d 237 (1st Cir. 1954). The Seventh

Circuit has interpreted Pino and section 241 (a)(11) as requiring "that a final curtain must

have been drawn in the criminal proceedings." Will v. Immigration and Naturalization

Service, 447 F.2d 529, 532 (7th Cir. 1971 ). See also Matter of L.R., 8 I. & N. Dec. 269

(1959). The United States agree with the Seventh Circuit that not only a "conviction" but

a sentence and exhaustion of procedures for direct appeal are necessary before an

alien "has been convicted" of a narcotics offense under section 241 (a)(11 ). Within the

federal judicial system, a person has not been "convicted" of a crime under section

241(a)(11) until a judgment of conviction has been entered and until procedures for a

direct appeal have been exhausted or waived.

6.    Defendants are responsible for their negligent, in detaining and depriving Plaintiff

of his freedom when it was not necessarily.

7.    Defendants Department of Correction is responsible for unlawfully incarcerating

Plaintiff for one thousand three hundred and seventy nine 1379 days from December

22, 2005, to October 1, 2009, when Plaintiff was eligible to be released from

incarceration and into the six months boot-camp program. For that reason seeks four

million one hundred thirty nine thousand and six hundred seventy eight $4,139,678

compensation and punitive damage from Oregon Department of Correction (ODOC)

8.    Defendants Immigration & Custom Enforcement (ICE) responsible for unlawfully

placing detainer against the plaintiff and physically detaining Plaintiff for two thousand

three hundred and seventeen 2,317 days, from December 22, 2005, to April 26, 2012.

For that reason Plaintiff seeks six million, fifty five thousand and five hundred dollars

$6,055,500 in compensation and punitive damage.


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      I WILL TESTIFY UNDER THE PENALTY OF PERJURY THAT THIS IS THE
TRUTH.
THE ITEMS WERE MAILED FIRST CLASS MAIL ON THE DATE BELOW.

Respectfully submitted this Dated this 21th, day of March 2013




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